                              Home      Ukraine    Abortion news      Factcheck       Politics
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                                                                Six women
                                                                 reported a
                                                             Louisiana college
                                                             student for sexual
                                                            misconduct. No one
                                                            connected the dots.
                                                                          Kenny Jacoby USA TODAY
                                                            Published 4:30 AM CDT May. 26, 2021 | Updated 12:16 PM CDT May.
                                                                                        26, 2021




ILLUSTRATION: SPENCER HOLLADAY, USA TODAY NETWORK AND GETTY IMAGES




                  I
                           n 2015, a Louisiana State University freshman transferred
                           schools weeks after he was accused of sexual assault. LSU did
                           not disclose the allegation to his new school, even after
 learning of his arrest for allegedly assaulting a second woman
 months
Case      later.
     2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 2 of 28

 The same year, the University of Louisiana at Lafayette placed a
 student arrested for sexual assault on probation, letting him stay on
 campus so long as he stayed out of trouble. Over his next three years
 there, three women reported him to the Lafayette Police Department
 for sex crimes, but the police never informed the school, despite an
 agreement that required it.

 In 2018, Louisiana Tech University declined to investigate a woman’s
 sexual assault report because the alleged perpetrator dropped out of
 the school three days after she reported it. The university said
 nothing to the school he transferred to the next month.

 In each case, the institutions failed to share relevant information
 with each other, leaving women on their campuses without warning
 and potentially at risk.

 The cases also share another common thread. They all involved the
 same accused student: Victor Daniel Silva.

 Silva, who did not respond to requests
 for comment for this story and hung up
 the phone on a reporter, has never been
 charged with a sex crime. He was
 arrested once but prosecutors did not
 move forward with the case. He has
 told police and others the allegations
 against him are false.

 His case, however, illustrates how
 universities continue to struggle with
 the most basic response to sexual
 assault allegations. Over and over when
                                              Victor Daniel Silva has
 women came forward about Silva,              never been charged with a
                                              sex crime, but at least six
 college officials and police didn’t          women reported him to
 communicate, didn’t convey critical          police for sexual
                                              misconduct during his six
 information, and didn’t connect the          years in college at three of
 dots on a pattern that might have            Louisiana's largest public
                                              universities. He was
 shaped how they pursued the            arrested once in 2015, but
                                        prosecutors did not move
 allegations.
Case 2:23-cv-02848-KJM-AC Document 9-13 forward with the case.
                                         Filed 01/18/24  Page 3 of 28
                                             PHOTO PROVIDED BY DRAKE
                                             BERGERON
 This was supposed to have changed in
 Louisiana. Six years ago, in response to a reckoning over the
 handling of sexual assault cases across the state, Louisiana
 legislators enacted a sweeping new law designed to root out
 predators on college campuses.

 Known as Act 172, the law required universities and local law
 enforcement agencies to alert each other to reports of alleged sex
 crimes involving students in their areas. It ordered colleges to block
 students from transferring schools during sex-offense investigations,
 and to disclose any resulting disciplinary actions to incoming
 schools.

 Police and universities at the time already had a mandate to
 investigate campus sexual misconduct. The 2015 law was supposed
 to make that job easier by ensuring everyone had information about
 accused students who otherwise might have slipped through the
 cracks.
Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 4 of 28




 Protesters gather and march on LSU campus in reaction to the way
 school officials mishandled sexual misconduct allegations against
 students, including top athletes. November 20, 2020.
 SCOTT CLAUSE, USA TODAY NETWORK


 But one by one, the people in charge of protecting students at three
 of the state’s largest public universities either failed to comply with
 its provisions or found loopholes to avoid them, according to a USA
 TODAY investigation based on a review of case files, a trove of
 documents, emails and other public records, and interviews with
 current and former prosecutors, police officers, lawmakers,
 university officials and seven women who alleged sexual assaults.

 Because officials failed to communicate with each other, they viewed
 nearly every allegation against Silva as an isolated incident in an
 otherwise clean record. They closed every case against him without a
 finding of fault, sometimes without investigating, with no
 interruption to his education.

                                   Advertisement
                     Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 5 of 28




                       Their failures show how the mishandling of sexual misconduct
                       allegations extends beyond just the state’s flagship university, LSU,
                       which has come under fire after investigative reporting by USA
                       TODAY found school officials covered up reports of rape, domestic
                       violence and harassment and botched investigations under Title IX,
                       the federal law prohibiting sex discrimination in education.

                       “It is impressively embarrassing to our state,” said J.P. Morrell, an
                       attorney and former state senator who sponsored Act 172. “At best, it
                       is a complete, callous disregard for what victims are going through —
                       and not just what they’re going through, but what the future victims
                       will go through, as these predators find new victims.

                       “At worst, it’s almost malicious.”

                       Officials at LSU, UL Lafayette and Louisiana Tech denied
                       wrongdoing, saying they complied with all laws and policies at the
                       time.


At best, it is a complete, callous disregard for what
victims are going through — and not just what they’re
going through, but what the future victims will go
through, as these predators find new victims.
J.P. Morrell, an attorney and former state senator

      TWEET                FACEBOOK                  REDDIT      SHARE




                       Top brass at the Lafayette Police Department, including the chief,
                       ignored at least nine emails and phone messages seeking comment.
 Jamie Angelle, a spokesperson for the city of Lafayette, emailed a
 statement
Case        saying the police Document
     2:23-cv-02848-KJM-AC     agency’s agreement
                                        9-13 Filedwith UL Lafayette,
                                                   01/18/24 Page 6 of 28
 which is mandatory under Act 172, did not require it to inform the
 school of “unsubstantiated allegations.”

 The agreement, however, requires the agency to “notify UL
 Lafayette’s Title IX Coordinator… of any report of a sexually oriented
 criminal offense that may have occurred on its campus or involved a
 student as a victim or an accused.”

 Morrell and another former lawmaker who wrote the 2015 state law
 – Helena Moreno, who currently serves as New Orleans’ City Council
 president – told USA TODAY the requirements were clear.

 The schools and law enforcement, they said, simply didn’t follow
 them.




 An oppressive heat baked the UL Lafayette campus the afternoon of
 June 22, 2015.

 It was a Monday, and Carl Tapo sat in his office on the first floor of
 Buchanan Hall, a low-slung, red-brick structure across the street
 from a two-acre swamp – the nation’s only managed wetland on a
 college campus. Tapo, then a 62-year-old assistant dean of students,
 had an appointment with Silva, a recently transferred student who
 got into trouble.
Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 7 of 28




 Victor Silva spent most of his college career at the University of
 Louisiana at Lafayette. He transferred from Louisiana State University to
 UL Lafayette, then to Louisiana Tech University, then back to UL
 Lafayette.
 KENNY JACOBY, USA TODAY


 What Tapo knew about him was this: Silva, a freshman, arrived at
 UL Lafayette that January after a semester at LSU. Just over two
 months after his transfer, following a visit to friends at his old
 school, LSU campus police arrested Silva on a charge of second-
 degree rape.

 According to the police report, after a night of drinking at a popular
 bar near the Baton Rouge campus that March, an LSU student who’d
 known Silva from the previous semester let him into her dorm room.
 Shortly afterward, the report said, Silva used his bodyweight to hold
 down the woman as he raped her at least three times over the span of
 three hours.
 LSU police got a warrant for Silva’s arrest on April 1, 2015, and
 booked
Case     him in the parish prison.
     2:23-cv-02848-KJM-AC          His mugshot
                             Document          made
                                       9-13 Filed     the local
                                                  01/18/24      news
                                                             Page 8 of 28
 and the rounds on social media among students at both universities.
 One news article found its way to Tapo’s email inbox, sent by an LSU
 administrator as a courtesy.

 But in the two-and-a-half months between Silva’s arrest and his
 meeting with Tapo, the case seemed to have fizzled.




 A police report detailing Louisiana State University police detectives'
 interrogation of Victor Silva following his arrest for second-degree rape
 in April 2015.
 LSU POLICE DEPARTMENT


 The East Baton Rouge District Attorney’s Office had not filed
 charges. LSU hadn’t reached out again to Tapo with an update. No
 one at UL Lafayette had heard from the alleged victim, who, even as
 an LSU student, could have filed a Title IX complaint against Silva at
 his new university.

 And as far as Tapo knew, Silva, who denied the allegations, had
 never been accused before.

 Tapo went easy on Silva. He placed the 19-year-old on disciplinary
 probation for two years and ordered him to attend behavior
 management sessions at the school health center.

 What Tapo didn’t know was this: Two months into Silva’s first
 semester at LSU, a different LSU student he’d met in an English class
 accused him of rape.

 Because the incident happened in Lafayette, the woman reported it
 to Lafayette police. Police notified LSU a day later.
Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 9 of 28




 Protesters gather and march on LSU campus in reaction to the way
 school officials mishandled sexual misconduct allegations against
 students, including top athletes. November 20, 2020.
 SCOTT CLAUSE, USA TODAY NETWORK


 LSU, which had no full-time Title IX employees at the time, launched
 an investigation into the woman’s complaint. It sided with Silva,
 according to case records obtained by USA TODAY via public records
 request. He faced no discipline.

 The District Attorney’s Office for the 15th Judicial District Court,
 which serves Lafayette Parish, also declined to file charges against
 Silva in the case, citing a lack of evidence, records show.

 Because LSU cleared Silva of wrongdoing, administrators did not
 notify UL Lafayette of the allegation when Silva transferred there at
 the end of the semester, vice president of communications Jim
 Sabourin told USA TODAY. They had “no reason to” do so, Sabourin
 said, nor did any policy or law require it.

 But LSU did share information about Silva’s April 2015 arrest.

 According to emails obtained by USA TODAY through public records
 requests, upon learning of the second rape allegation, LSU officials
 described Silva as a “frequent flyer” whose name had appeared in the
 school’s conduct files the previous semester. They moved quickly to
 ban Silva from campus, emails show. But when they notified UL
  Lafayette about his arrest, they still made no mention of the prior
  allegation.
Case  2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 10 of 28




  Officials in Louisiana State University's dean of students office
  recognized Victor Silva as a "frequent flier" with a history of conduct
  issues after his arrest for the alleged rape of an LSU student in April
  2015. Six months earlier, LSU investigated a different LSU student's
  sexual assault allegation against Silva.
  LSU


  As a result, the report that prompted Silva’s arrest appeared to UL
  Lafayette as a first-time accusation.

  One day after Tapo’s meeting with Silva, Louisiana’s then-Gov.
  Bobby Jindal signed Act 172 into law, along with three other bills
  designed to protect survivors.

  “I’m proud to sign these crucial pieces of legislation into law that
  support and empower victims of sexual assault,” Jindal said in a
  press release at the time.

  Jindal, a Republican, announced his candidacy for president the next
  day.
                              LSU9-13
Case 2:23-cv-02848-KJM-AC Document mishandled
                                      Filed 01/18/24 Page 11 of 28

                                   sexual misconduct
                                   complaints against
                                   students, including
                                   top athletes

                                           Read more




  In an email to USA TODAY, UL Lafayette associate vice president of
  communications Jennifer Stephens said the university “took
  appropriate actions according to what it knew at the time and within
  the confines of existing state law and federal guidance.”

  In addition, Stephens said, U.S. Department of Education guidance
  at the time specifically addressed how schools should respond to
  students' sexual assault complaints when the alleged perpetrator is
  not affiliated with the school: “The home school should notify the
  student of any right to file a complaint with the alleged perpetrator’s
  school or local law enforcement.”

  But Mayumi Dickerson, the woman who reported Silva, said in an
  interview with USA TODAY that LSU never informed her of her right
  to file a complaint against him at UL Lafayette. Had she known it
  was possible, she said, she would have done it.
Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 12 of 28




  Mayumi Dickerson was a freshman at Louisiana State University when she
  filed a police reporting saying Victor Silva sexually assaulted her in March
  2015. The report resulted in his arrest, but prosecutors did not charge
  Silva with a crime.
  DUSTIN CHAMBERS FOR USA TODAY


  It is USA TODAY’s policy not to publish the names of people who
  allege sexual assault without their permission. Dickerson and two
  others chose to use their full names.

  The same month that UL Lafayette placed Silva on probation, LSU
  expelled Dickerson because her grades had plummeted.

  The scholastic drop was unrelated to her sexual assault allegation,
  according to Sabourin, who said the university took a series of
  academic actions against Dickerson starting before the incident.

  LSU ultimately allowed Dickerson back in, after she filed a U.S.
  Department of Education complaint alleging the school violated her
  rights under Title IX. Her complaint prompted a sex-discrimination
                     investigation into the school by the department's Office for Civil
                     Rights.
                   Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 13 of 28


My college experience has been 100% altered because
of him and everything that I’ve been through. I get
super nervous just walking on a college campus. I’m
still working toward my undergrad degree. He got to
have those experiences that he stripped me of.
Mayumi Dickerson

     TWEET             FACEBOOK               REDDIT           SHARE




                     But Dickerson had developed post-traumatic stress disorder and
                     become terrified to set foot on campus, she said, in part because
                     Silva’s friends at LSU had harassed her on campus and pressured her
                     to drop the charges. She left LSU a year later.

                     Neither university’s Title IX office investigated Dickerson’s
                     complaint.

                     “My college experience has been 100% altered because of him and
                     everything that I’ve been through,” Dickerson said. “I get super
                     nervous just walking on a college campus. I’m still working toward
                     my undergrad degree. He got to have those experiences that he
                     stripped me of.”




                     Tapo’s decision to place Silva on probation allowed him to continue
                     his coursework at UL Lafayette without interruption – so long as he
                     stayed out of trouble.

                     Silva attended his mandatory counseling that July, school records
                     show. The same month, he started a research assistantship with a
                     chemistry professor, designing processes to extract oil from the Gulf
                     of Mexico, according to his resume. That August, he started a side
                     job through a university program tutoring high school students.
  Silva remained enrolled at UL Lafayette for the next three years,
  attendance
Case          records show. During
     2:23-cv-02848-KJM-AC          that9-13
                             Document   time,Filed
                                              the school received
                                                   01/18/24  Page no
                                                                  14 of 28
  reports of sexual misconduct allegations against Silva, Stephens said.




  Victor Silva spent most of his college career at the University of
  Louisiana at Lafayette. He transferred from Louisiana State University to
  UL Lafayette, then to Louisiana Tech University, then back to UL
  Lafayette.
  KENNY JACOBY, USA TODAY


  As far as university officials knew, Silva had completed his probation
  without issue.

  But unbenknowst to school officials, at least three women had
  reported Silva to the Lafayette Police Department for sex crimes
  during that time. One of them was a UL Lafayette student whom
  Silva had tutored through the school program.

  None of the three reports was shared with the university.
  Under Act 172, each Louisiana university was required to enter into a
  memorandum
Case            of understanding
     2:23-cv-02848-KJM-AC        with 9-13
                            Document  the law  enforcement
                                            Filed          agencies
                                                  01/18/24 Page 15 of 28
  in their surrounding areas, outlining protocols for investigating and
  notifying each other about alleged sex crimes involving students.

  UL Lafayette’s memorandum with LPD required the police to
  “(n)otify UL Lafayette’s Title IX Coordinator, to the extent we are
  able with respect to any confidentiality requirements, of any report
  of a sexually oriented criminal offense that may have occurred on its
  campus or involved a student as a victim or an accused,” according to
  a copy obtained via a public records request.

  Yet for each of the three reports against Silva, LPD officers ignored
  the requirement.




  A memorandum of understanding required under a 2015 state law,
  known as Act 172, required the Lafayette Police Department to alert the
  University of Louisiana at Lafayette about "any report" of a sex offense
  involving a student and coordinate their investigations.
  UNIVERSITY OF LOUISIANA AT LAFAYETTE


  The first came in November 2016, while Silva was still on probation.
  According to the police report, a local community college student
  who had met Silva on a dating app a year earlier said he was now
  trying to blackmail her.

  The woman, who spoke to USA TODAY, told police she and Silva had
  consensual sex about a year earlier. Then, out of the blue, he sent her
  a video of the encounter that he had apparently had recorded
  without her knowledge. When she told him to delete it, he said he
  would – in exchange for nude photographs.
  The woman immediately called LPD and talked to Officer Jonathan
  Richard,
Case       the report shows. Document
     2:23-cv-02848-KJM-AC    She told Richard she would
                                       9-13 Filed        forego
                                                  01/18/24   Page 16 of 28
  criminal charges if Silva would delete the video.

                                Advertisement




  Richard then called Silva, who agreed on the phone to delete it,
  according to the report. Richard closed the case.

  Although the memorandum required LPD to notify UL Lafayette
  about the incident, LPD did not sign the agreement until two months
  after the report, in January 2017 – more than a year after Act 172
  took effect.

  Even after signing it, the police department failed to share at least
  two more accusations against Silva with the university.

  Both of those cases, records show, were assigned to Detective James
  Gayle.

  Gayle first met Silva on June 8, 2018. They sat across from each
  other in a small interview room at the police station to discuss a
  sexual assault report made against him that April by a fellow UL
  Lafayette student. Seated next to Silva was his criminal defense
  attorney, Josh Guillory, who was elected mayor-president of
  Lafayette the following year – a position he holds today.
Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 17 of 28




  Lafayette Police Department received four complaints against Victor
  Silva for sex crimes over four years. Three women accused him of sexual
  assault, and another woman said he tried to blackmail her after secretly
  recording a video of them having consensual sex.
  KENNY JACOBY, USA TODAY


  According to the April 2018 police report against Silva, the student
  met him in 2016 through the tutoring program he worked for at UL
  Lafayette. The first time they hung out, she told police, he groped her
  and vaginally penetrated her against her will. She decided to report it
  two years later, when she learned of other allegations against him
  that had been posted on social media.

  Gayle read Silva his Miranda rights and asked him what happened
  that day. Silva denied the allegation and said the encounter was
  consensual.

  After 20 minutes, Gayle ended the interview. He told Silva he’d send
  the case to the 15th Judicial District Attorney’s office for a charging
  decision.

  The district attorney’s office also was a party to the memorandum. It,
  too, was required to notify UL Lafayette of “any report” of a sex
  offense involving a student as a victim or suspect, the agreement
  shows.

  But neither the district attorney’s office nor LPD did so.
  Less than two months later, a second UL Lafayette student reported
  Silva
Case    to LPD. Andie Richard-Bonano
     2:23-cv-02848-KJM-AC   Document said
                                     9-13 Silva
                                           Filedsexually
                                                 01/18/24assaulted
                                                           Page 18her
                                                                   of 28
  in 2010, when they were 14, on the morning of their freshman
  orientation at St. Thomas More Catholic High School.




  Andie Richard-Bonano, a former student at University of Louisiana at
  Lafayette, filed a report with Lafayette police in August 2018 saying
  Victor Silva sexually assaulted her in 2010. At the time of the alleged
  assault, both Richard-Bonano and Silva were freshmen at a local high
  school.
  ROSS TAYLOR FOR USA TODAY


  Richard-Bonano, who spoke to USA TODAY, had disclosed her
  alleged assault by Silva on social media for the first time two years
  earlier. She did so after seeing another woman, Carolina Chauffe,
  post on Facebook that Silva had sexually assaulted her the same
  year, when she was 12.

  “I was ready to have it on record that this man is a monster and has
  hurt people before and will continue to do it,” Richard-Bonano told
  USA TODAY.
  Richard-Bonano said she remembered Gayle telling her that her
  complaint
Case         probably would not
     2:23-cv-02848-KJM-AC       lead to9-13
                            Document    charges,
                                             Filedbut that it may
                                                   01/18/24       be19 of 28
                                                               Page
  useful to establish a pattern if other victims came forward.

  Richard-Bonano was at least the fifth person to report Silva to police
  for a sex crime by that time, and the fourth to report him to LPD.




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  It’s unclear what Gayle did with her report. LPD refused to provide it
  in response to public records requests by both USA TODAY and
  Richard-Bonano, citing that she and Silva were minors at the time of
  the alleged crime. It said it would provide the report if she signed a
  non-disclosure agreement promising not to share its contents with
  anyone. She declined.

  USA TODAY made at least nine attempts to reach LPD Chief Thomas
  Glover, Gayle and four sergeants, including public information
  officer Wayne Griffin, for comment. None responded.

  “It would be improper, if not unlawful, to report unsubstantiated
  allegations, which by definition do not fall within the scope of the
  MOU,” said Angelle, a spokesperson for the city of Lafayette, in an
  emailed statement to USA TODAY.

  Angelle also sent a statement on behalf of Guillory, the current
  mayor who represented Silva in not only the April 2018 case, but also
  in the October 2014 case from his first semester at LSU.
                      “At the request of his parents, I attended two interviews with Mr.
                     Silva,”
                   Case      Guillory’s statementDocument
                        2:23-cv-02848-KJM-AC     said. “He 9-13
                                                           was not charged
                                                                Filed       in either
                                                                      01/18/24   Page 20 of 28
                      instance, and did not further require legal representation.”


This MOU process was specifically put together for this
reason, so that the university would know if they had
some type of serious situation on their hands. I mean,
my God, you have a potential serial rapist on your
campus? The campus should be alerted.
Helena Moreno, New Orleans’ City Council president

     TWEET               FACEBOOK              REDDIT             SHARE




                      Alan Haney, an assistant district attorney for the 15th Judicial
                      District, said he believed his office complied with Act 172 but did not
                      dispute that it did not notify UL Lafayette of the allegations.

                      The memorandum of understanding is unequivocal, said Moreno,
                      the former state representative who co-authored Act 172 and
                      reviewed the agreement. It states both LPD and the district
                      attorney’s office must share “any report” of a sexually oriented
                      criminal offense with UL Lafayette’s Title IX coordinator.

                      The police agency and the district attorney’s office, Moreno said,
                      clearly violated it.

                      “This MOU process was specifically put together for this reason, so
                      that the university would know if they had some type of serious
                      situation on their hands,” Moreno said. “I mean, my God, you have a
                      potential serial rapist on your campus? The campus should be
                      alerted.”




                      In September 2018, just weeks after the latest police report, Silva
                      transferred to Louisiana Tech University in Ruston, a rural town of
                      22,000 in the northern part of the state.
  He arrived with a clean record.
Case 2:23-cv-02848-KJM-AC Document 9-13 Filed 01/18/24 Page 21 of 28
  Although the law requires universities to “communicate with each
  other regarding transfer of students against whom disciplinary
  action has been taken as a result of a code of conduct violation
  relating to sexually-oriented criminal offenses,” UL Lafayette did not
  notify Tech about Silva’s probation from his arrest for rape.




  Ruston Police Department handled an investigation of Victor Silva
  following a Louisiana Tech University student's December 2018 report of
  sexual assault. Louisiana Tech is located in Ruston.
  KENNY JACOBY, USA TODAY


  That’s because of a technicality involving the timing of Silva’s
  discipline.

  Act 172 specifically directed Louisiana’s Board of Regents, which
  oversees the state’s public universities, to adopt a policy mandating
  such communication. It did so in August 2015 – two months after UL
  Lafayette
Case        placed Silva on probation.
     2:23-cv-02848-KJM-AC    Document 9-13 Filed 01/18/24 Page 22 of 28

  Because the board policy had not yet taken effect at the time of the
  discipline, Stephens told USA TODAY, the university did not flag
  Silva's conduct record and was not required to notify Tech when he
  transferred there three years later.

  Additionally, Stephens said, because Silva completed the probation
  prior to his transfer, there was no disciplinary hold on his transcript.

  Stephens insisted that UL Lafayette violated no laws or policies.




  A Louisiana law enacted in 2015, known as Act 172, directed universities
  to prevent students from transferring schools during an investigation
  into a sex offense, and to communicate any resulting disciplinary action
  to the incoming school.
  LOUISIANA STATE LEGISLATURE


  “That said, the University recognizes opportunities to strengthen
  processes and procedures related to student transfers and the
  reporting of student disciplinary issues,” she said in an email, adding
  that school officials are currently helping the legislature develop new
  laws on these issues. “We also strongly reiterate that the University
  takes all accusations of sexual assault seriously and recognizes the
  accusations made against Mr. Silva were serious.”

  Silva’s time at Tech lasted just three months.

  In December of that year, a fellow Tech student filed a report with
  the school’s Title IX office and campus police department alleging
  that Silva had sexually assaulted her in his apartment three months
  earlier – less than two weeks after he enrolled – while she was
  unconscious from drinking alcohol, police reports show.
  Because the incident happened off-campus, Tech police referred it to
  the2:23-cv-02848-KJM-AC
Case  Ruston Police Department, which9-13
                           Document   interviewed  the woman
                                           Filed 01/18/24    the
                                                          Page 23 of 28
  same day, records show. RPD later referred the case to the Third
  Judicial District Attorney’s Office, which serves Ruston. It declined
  to charge Silva.

  The week after the woman reported the incident, Tech associate vice
  president for student advancement Dickie Crawford called her into a
  meeting, where she told her the university would not be investigating
  her case, the woman told USA TODAY.




  Victor Silva transferred to Louisiana Tech University in September 2018.
  Two weeks into the fall term, a student accused Silva of sexually
  assaulting her. Silva withdrew from the school three days after she
  reported the incident to school officials and police that December.
  KENNY JACOBY, USA TODAY
                       Silva had withdrawn from the university three days after she filed the
                      report.
                    Case      As a result, Crawford
                         2:23-cv-02848-KJM-AC       told the woman,
                                                  Document           Tech
                                                             9-13 Filed    no longer
                                                                        01/18/24     had24 of 28
                                                                                  Page
                       jurisdiction to punish him.

                       Silva transferred back to UL Lafayette the next month.

                       Act 172 required universities to prevent students accused of sex
                       offenses from transferring schools to avoid an investigation or
                       punishment. Specifically, the policy the board adopted to comply
                       with the law said, “If a student accused of a sexually-oriented
                       criminal offense seeks to transfer to another institution during an
                       investigation, the institution shall withhold the student’s transcript
                       until such investigation or adjudication is complete and a final
                       decision has been made.”

                       Yet Tech did not withhold Silva’s transcript or notify UL Lafayette of
                       the allegation.

                       According to Tech attorney Justin Kavalir, Silva withdrew from the
                       university so quickly after the woman’s report that it didn’t have time
                       to begin an investigation. As a result, because there was no pending
                       disciplinary case against him, the policy did not apply, Kavalir said.

                       Morell and Moreno, the two former state lawmakers who co-
                       authored Act 172, were incensed by Tech’s failure to pursue an
                       investigation into Silva.


The situation you’re describing is literally finding a
loophole in the law to avoid protecting sexual assault
victims and exploiting it. That’s really offensive. It’s
offensive, and it’s just – it makes me nauseous.
J.P. Morrell, an attorney and former state senator

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                       “That's literally what that section of the law was supposed to address,
                       that you don’t get to skip town and not have an investigation,”
                       Morrell said. “The situation you’re describing is literally finding a
                       loophole in the law to avoid protecting sexual assault victims and
  exploiting it. That’s really offensive. It’s offensive, and it’s just – it
  makes
Case     me nauseous.”
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  The requirements of Act 172 are clear, Moreno said. What is lacking
  in the law, she said, is oversight for the universities that continually
  find excuses not to follow it.

  “It just appears that everyone does what they want to do anyway, and
  laws are ignored, and backs are turned, and tracks are covered,”
  Moreno said. “Unfortunately, it’s the victims who are left without any
  real help.

  “And unfortunately, if this isn’t really corrected, and this isn’t really
  prioritized, nothing’s going to change, and there are going to be more
  victims.”




  Silva strode across the artificial turf of Cajun Field, the UL Lafayette
  football stadium, on the evening of Aug. 7, 2020, in a vermilion cap
  and gown.

  With the dean of the College of Engineering standing behind him, he
  smiled for a photo, holding his bachelor’s degree in chemical
  engineering against his chest.

  As he walked off the field at the end of the ceremony, Silva looked to
  the bleachers and waved to the crowd.

  Over his six years in college, at least six women at three universities
  had reported him for alleged sexual offenses to four police agencies
  across three parishes. He had been banned from LSU's campus,
  arrested but not prosecuted, and placed on probation by UL
  Lafayette. But Silva never missed a semester of classes.

  Other than his 2015 arrest, UL Lafayette was unaware of any other
  allegations against him, Stephens told USA TODAY. The university
  received no complaints against Silva in his first three years as a
  student, nor his last year and a half.
  But his final days at UL Lafayette were not without incident.
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  In the spring of 2020, Silva began dating Nicole Pellegrin, a fellow
  chemical engineering student who shared classes with him and spoke
  to USA TODAY. She went into the relationship wary, she said, after
  reading a news article about his 2015 arrest and seeing other
  allegations on social media. But he told her he’d been falsely accused
  and never convicted, and she gave him the benefit of the doubt.




  Nicole Pellegrin (left) dated Victor Silva (right) for just under a year until
  January 2021. They met at the University of Louisiana at Lafayette,
  where they studied chemical engineering.
  COURTESY OF NICOLE PELLEGRIN


  Two days before the graduation ceremony that August,
  Pellegrin invited her longtime best friend to have dinner with her
  and Silva. The friend, an LSU student who spoke to USA TODAY,
  said she had been unaware of the allegations against him.
                     After a night of drinking, the friend stayed the night in Pellegrin’s
                     guest
                   Case    bedroom. At around 5Document
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                                                          said, she
                                                                Filedwoke up to Page
                                                                      01/18/24  find Silva
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                     curled up in bed with her. His body was pressed up against hers, she
                     said, and he was erect. His arms were wrapped around her, and his
                     hands were under her shirt, fondling her breasts.

                     It took a few seconds to process what was happening, the friend said,
                     before she pushed Silva off. He acted like he didn’t know where he
                     was, she said — like he’d accidentally fallen asleep in the wrong bed.

                     The friend told Pellegrin what happened later that morning, she said,
                     but Pellegrin did not believe it at first. Because he sometimes slept in
                     the guest room, Pellegrin took Silva’s word that it was a drunken
                     mistake.


He’s great at pretending, and he needs to be held
accountable. I should have stood by my friend.
Nicole Pellegrin

      TWEET             FACEBOOK            REDDIT              SHARE




                     This strained the women’s eight-year friendship, they told USA
                     TODAY. Losing that is “sometimes harder than what actually
                     happened to me,” the friend said.

                     Pellegrin said she now believes the women who’ve accused Silva and
                     regrets letting him manipulate her.

                     “I did really love him a lot,” Pellegrin said. “But the person I loved is
                     not the person he actually is. It never was. He’s great at pretending,
                     and he needs to be held accountable. I should have stood by my
                     friend.”

                     After Googling Silva and learning about other allegations against
                     him, the friend strongly considered pursuing a criminal case, she
                     said.

                     Her father hired a private investigator to look into Silva’s past,
                     documents she shared with USA TODAY show. She consulted with
                     her stepmom, who’s a lawyer, and a New Orleans prosecutor with
  whom her family was close. They warned her a trial would likely be
  retraumatizing,
Case              she said, and
     2:23-cv-02848-KJM-AC       the chances
                             Document  9-13 ofFiled
                                               a conviction
                                                    01/18/24 slim.
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  The friend ultimately decided not to report Silva. She didn’t see the
  point.

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  26, 2021

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